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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  Walters, et al. v. Flint, et al.
  Case No. 17-10164

  ________________________________/

    ORDER REGARDING PENDING MOTION FOR LEAVE TO
           FILE AN AMENDED COMPLAINT [185]

       On September 26, 2018, the Court heard arguments in several

 pending motions to dismiss. (Dkt. 181.) However, before the Court ruled

 on the motions, plaintiffs indicated an intention to file a motion for leave

 to file an amended master long-form complaint. (Dkt. 669 at 4.) The Court

 instructed them to do so, if at all, by November 28, 2018. (Id.) And, in

 accordance with the Court’s instructions, plaintiffs filed their motion.

 (Dkt. 185.)

       Considering how the motions to dismiss are still pending, the Court

 gives the following guidance: parties should brief the motion to amend as

 if the Court has already granted it and the defendants are moving to
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 dismiss. The Court will not actually grant the motion to amend on the

 docket, but this should expedite the process as the Court will then be able

 to rule on all the motions in one opinion and order. The resulting opinion

 and order will be appealable to the same extent that a motion to dismiss

 is appealable in the ordinary course. Plaintiffs will be permitted to seek

 leave to add additional pages to their reply brief to respond to the full

 range of arguments, if necessary.

 Dated: December 4, 2018                  s/Judith E. Levy
      Ann Arbor, Michigan                 JUDITH E. LEVY
                                          United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on December 4, 2018.

                                          s/Shawna Burns
                                          SHAWNA BURNS
                                          Case Manager




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